                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                            SOUTHERN DIVISION
                            NO. 7:20-CV-00207-FL


 UNITED STATES OF AMERICA,                )
                                          )
                     Plaintiff,           )
                                          )
              v.                          )      CONSENT JUDGMENT AND
                                          )      PERMANENT INJUNCTION
 SEASHORE DRUGS, INC., JOHN D.            )
 WAGGETT, AND BILLY W. KING               )
 II,                                      )
                                          )
                     Defendants.          )


      Plaintiff, the United States of America, has filed a Complaint for Permanent

Injunction and Civil Penalties (the “Complaint”) under the Controlled Substances

Act, 21 U.S.C. § 801 et seq., against Defendants Seashore Drugs, Inc., John D.

Waggett, and Billy W. King II. [D.E. 1.] Plaintiff and Defendants (the “Parties”)

stipulate to the entry of this Consent Judgment and Permanent Injunction (“Order”)

to resolve the claims alleged in the Complaint. The Parties have informed the Court

of the following:

                                     PARTIES

      1.     Plaintiff is the United States of America.

      2.     Defendant Seashore Drugs, Inc. (“SEASHORE”) is a corporation

organized under the laws of North Carolina, with its principal place of business at

2059 Carolina Beach Road, Wilmington, NC 28401-7239. SEASHORE was assigned
registration number AH4153401 by the U.S. Drug Enforcement Administration

(“DEA”) for dispensing controlled substances in the course of pharmacy practice.

      3.     Defendant John D. Waggett (“WAGGETT”) is a resident of the Eastern

District of North Carolina. At all times relevant to the Complaint, WAGGETT was a

pharmacist duly licensed by the North Carolina Board of Pharmacy. WAGGETT was

the owner and president of SEASHORE, and also worked as a pharmacist at

SEASHORE.

      4.     Defendant Billy W. King II (“KING”) is a resident of the Eastern District

of North Carolina. At all times relevant to the Complaint, KING was a pharmacist

duly licensed by the North Carolina Board of Pharmacy and served as the

pharmacist-in-charge at SEASHORE.              As pharmacist-in-charge, KING was

responsible for the daily management of Seashore’s pharmacy business, including the

filling of prescriptions for controlled substances, subject to WAGGETT’S direction

and oversight as owner and president of SEASHORE.

                          JURISDICTION AND VENUE

      5.     This Court has subject-matter jurisdiction over this action pursuant to

21 U.S.C. §§ 842(c)(1)(A), 843(f)(2), and 882(a), as well as 28 U.S.C. §§ 1345 and 1355.

For purposes of this Order, Defendants consent to this Court’s subject-matter and

personal jurisdiction.

      6.     Venue is proper in the Eastern District of North Carolina under 21

U.S.C. §§ 842(c)(1)(A) and 843(f)(2), as well as 28 U.S.C. §§ 1395(a) and 1391(b)–(d).

For purposes of this Order, Defendants consent to venue in this judicial district.



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      7.     Defendants agree to waive service of the Complaint and summons.

      8.     For purposes of this Order, Defendants agree that the Complaint states

claims upon which relief can be granted under the Controlled Substances Act.

Defendants otherwise make no admissions regarding the allegations in the

Complaint.

      9.     For purposes of this Order, the terms “administer,” “controlled

substance,” “dispense,” and “distribute” are defined as set forth in 21 U.S.C. § 802.

      10.     To avoid the delay, uncertainty, inconvenience, and expense of

protracted litigation, the Parties have reached a settlement of this matter, including

the terms set forth below. Defendants deny committing any of the alleged violations

contained in the Complaint. This Order is not an admission of liability by Defendants

nor a concession by the United States that its claims are not well founded. The

Parties recognize, and by entry of this Order the Court finds, that this Order is fair,

reasonable, and in the public interest.

                                       ORDER

      In view of the foregoing, and based on the Parties’ consent, it is hereby

ORDERED, ADJUDGED, and DECREED as follows:

      1.     Judgment is hereby entered in favor of the United States and against

Defendants SEASHORE, WAGGETT, and KING in the amount of $1,050,000.00 (the

“Civil Penalty Amount”). The following shall apply to the Civil Penalty Amount:

             a.     Defendants are jointly and severally liable for satisfaction of the

                    Civil Penalty Amount;



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             b.    None of the Civil Penalty Amount is restitution;

             c.    The Civil Penalty Amount is a debt to the United States as

                   defined in the Federal Debt Collection Procedures Act of 1990, 28

                   U.S.C. §§ 3001-08, and nothing in this Order precludes the United

                   States from taking action to collect the debt as authorized by law;

                   and

             d.    The United States agrees to waive pre-judgment interest on the

                   Civil Penalty Amount.

      2.     Defendant WAGGETT is hereby permanently restrained and enjoined

under 21 U.S.C. §§ 843(f) and 882(a) from:

             a.    administering, dispensing, distributing, or possessing with the

                   intent to distribute, any controlled substance;

             b.    serving as a manager, owner, operator, or pharmacist-in-charge

                   of any entity, including a pharmacy, that administers, dispenses,

                   or distributes controlled substances; and

             c.    applying for or seeking renewal of a controlled-substances

                   registration from DEA, whether on his own behalf or on behalf of

                   any other corporate entity.

      3.     Defendant KING is hereby permanently restrained and enjoined under

21 U.S.C. §§ 843(f) and 882(a) from:




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             a.     serving as a manager, owner, operator, or pharmacist-in-charge

                    of any entity, including a pharmacy, that administers, dispenses,

                    or distributes controlled substances; and

             b.     applying for or seeking renewal of a controlled-substances

                    registration from DEA, whether on his own behalf or on behalf of

                    any other corporate entity.

      4.     Defendant KING is hereby restrained and enjoined under 21 U.S.C.

§§ 843(f) and 882(a) from, directly or indirectly, administering, dispensing,

distributing, or possessing with the intent to distribute, any Schedule II controlled

substance, see 21 C.F.R. § 1308.12, for a period of 180 days from the date of this Order.

Upon expiration of this 180-day period, Defendant KING shall comply with the

following additional terms for a period of three (3) years (the “Monitoring Period”):

             a.     By no later than the 10th day of each month during the

                    Monitoring Period, Defendant KING shall provide to DEA a log

                    of all Schedule II controlled-substance prescriptions that

                    Defendant KING filled during the previous month.

             b.     In terms of required content and manner of submission, each log

                    shall comply with instructions provided by the DEA.

             c.     Each log shall be accompanied by a certification signed by

                    Defendant KING, stating as follows: “Before filling each

                    prescription listed on this log, I determined whether any

                    circumstances existed that reasonably raised a question about the



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                   prescription’s legitimacy or the lawfulness of its filling under the

                   federal Controlled Substances Act (21 U.S.C. 801 et seq.) and its

                   implementing regulations (21 C.F.R. Part 1306). If any such

                   circumstances were present, I established, to the best of my

                   professional judgment, the prescription’s legitimacy and the

                   lawfulness of its filling before dispensing any controlled

                   substances to the patient, and I documented on the hard-copy

                   prescription or in the pharmacy management software system the

                   basis for my determination.”

             d.    If Defendant KING does not fill any Schedule II controlled-

                   substance prescriptions in a given month, Defendant KING shall

                   provide to the DEA a signed certification that he has not filled

                   any Schedule II controlled-substance prescriptions during that

                   month.

      5.     Each Party shall bear its own legal and other costs incurred in

connection with this matter.

      6.     Defendants warrant that they freely and voluntarily consent to this

Order without any duress or compulsion and upon the advice of legal counsel, and

the undersigned counsel represent and warrant that they are fully authorized to

execute this Order on behalf of the persons and entities indicated below.

      7.     This Order is requested by the Parties for the sole purpose of resolving

the Complaint in this action, and this Order shall not constitute any admission or



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concession by either Party with respect to the allegations in the Complaint in

connection with any other civil, criminal or administrative proceeding or action.

      8.     The United States District Court for the Eastern District of North

Carolina retains exclusive jurisdiction to enforce or modify this Order, and for the

purpose of granting such additional relief as may be necessary or appropriate.

      SO ORDERED, this the 16th day of December, 2020.



                                       ______________________________
                                       LOUISE W. FLANAGAN
                                       United States District Judge




                     [Additional Signatures on Following Page]




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